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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                   2:07 - cr - 571 - GEB TJB

12          vs.

13   FELIX JAUREGUI,

14                  Movant.                       ORDER

15   ________________________________/

16          Movant, Felix Jauregui, seeks relief under 28 U.S.C. § 2255 from a sentence of 168

17   months imprisonment after Juaregui pleaded guilty to one count of conspiracy to distribute

18   methamphetamine. Based upon the motion, files, and records of this case, an limited evidentiary

19   hearing is warranted. The evidentiary hearing shall be limited in scope to testimony and other

20   evidence relating to any and all plea agreements offered by the government to Movant prior to

21   Movant’s open guilty plea. The court expects to hear testimony from both the government and

22   Movant’s trial counsel, as well as receive any and all evidence (such as notes, documents, and

23   records) relating to any and all plea agreements offered to Movant.

24          Accordingly, IT IS HEREBY ORDERED that:

25          1. An evidentiary hearing is set for May 23, 2012, at 9:30 a.m. in Courtroom 2 at the

26   United States Courthouse located at 501 I Street, Sacramento, California 95814, subject to the

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 1   ability to have Movant present either physically in the courtroom or via videoconference in

 2   accordance with the separate order and writ of habeas corpus ad testificandum;

 3          2. The evidentiary hearing is limited to: testimony and other evidence (such as notes,

 4   documents, and records) relating to any and all plea agreements offered to Movant prior to

 5   Movant pleading guilty in this case. No evidence shall be received with regard to Movant’s

 6   other claims, that the district court miscalculated his sentence under the United States Sentencing

 7   Guidelines or that his appellate counsel was ineffective.

 8   DATED: April 3, 2012

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12                                                        TIMOTHY J BOMMER
                                                          UNITED STATES MAGISTRATE JUDGE
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